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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8   UNITED STATES OF AMERICA,

 9                                Plaintiff,            CASE NO. CR12-016-RAJ

10          v.
                                                        PROPOSED FINDINGS OF FACT AND
11   DEZI-RAY LOUIE,                                    DETERMINATION AS TO ALLEGED
                                                        VIOLATIONS OF SUPERVISED
12                                Defendant.            RELEASE

13

14                                             INTRODUCTION

15          I conducted a hearing on alleged violations of supervised release in this case on June 3,

16   2016. The United States was represented by Tate London, and defendant was represented by

17   Erin Newton, substituting for Peter Offenbecher. The proceedings were digitally recorded.

18                                 CONVICTION AND SENTENCE

19          Defendant had been convicted on or about January 11, 2013, on a charge of involuntary

20   manslaughter. The Hon. Richard A Jones of this court sentenced defendant to 48 months of

21   imprisonment, followed by three years of supervised release.          He served this term of

22   imprisonment, and began his term of supervised release.

23   ///

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     VIOLATIONS OF SUPERVISED RELEASE
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 1          PRIOR ALLEGED VIOLATIONS, AND MODIFICATIONS OF CONDITIONS

 2          On December 4, 2015, the court added a condition requiring placement at a Residential

 3   Reentry Center (“RRC”) for up to 120 days because defendant had no viable release address.

 4   The court issued a warrant on January 23, 2016 based upon charges that defendant had failed to

 5   participate satisfactorily in the RRC program, and had used of methamphetamine and

 6   buprenofrine. When defendant entered an inpatient facility, the court quashed the warrant on

 7   April 21, 2016, and defendant continued on supervised release.

 8                            PRESENTLY ALLEGED VIOLATIONS AND
                                   DEFENDANT'S ADMISSIONS
 9

10          In applications dated April 28, and June 1, 2016, USPO Analiese Johnson alleged that

11   defendant violated the conditions of supervised release in five respects:

12          1.   Absconding from the RRC on January 23, 2016;

13          2. Use of methamphetamine on or before December 30, 2015;

14          3. Use of buprenophrine on or before January 10, 2016;

15          4. Use of methamphetamine on or before January 22, 2016; and

16          5. Use of heroin and methamphetamine on or before May 16, 2016.

17   I advised defendant as to these charges and as to his constitutional rights. He admitted all of

18   these alleged violations, waived any hearing as to whether they occurred, and consented to

19   having the matter set for a disposition hearing before Judge Jones.

20                        RECOMMENDED FINDINGS AND CONCLUSIONS

21          Based upon the foregoing, I recommend the court find that defendant has violated the

22   conditions of his supervised release in the five respects alleged, and conduct a disposition

23   hearing. The court has not set a definite date for that hearing, as the parties have agreed it should

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 1   be at least sixty days after the date of the initial appearance (not earlier than August 2, 2016).

 2          Defendant responded to a summons to appear for the initial hearing on revocation.

 3   Pending disposition, defendant has been released on a recognizance bond which also

 4   incorporates all the conditions of his supervised release. The bond also requires that defendant

 5   continue to reside at the Recovery House at the Muckleshoot Reservation, and follow all of its

 6   rules and regulations. Both parties and the U.S. Probation Office agreed to his release on these

 7   conditions.

 8          DATED this 3rd day of June, 2016.

 9
                                     s/ John L. Weinberg
10                                   United States Magistrate Judge

11

12   cc:    Sentencing Judge                :       Hon. Richard A. Jones
            Assistant U.S. Attorney         :       Tate London
13          Defense Attorney                :       Erin Newton
                                                    Peter Offenbecher
14          U. S. Probation Officer         :       Analiese Johnson

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